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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                  )      CASE NO. 1:07CR0494-003
                                           )
              PLAINTIFF                    )      JUDGE PETER C. ECONOMUS
                                           )
       V.                                  )
                                           )
ISIDRO RODRIGUEZ,                          )      MEMORANDUM OPINION
                                           )      AND ORDER
              DEFENDANT.                   )
                                           )


        This matter is before the Court upon Magistrate Judge George J. Limbert’s

Report and Recommendation that the Court ACCEPT Defendant Isidro Rodriguez’s

(“Defendant”) plea of guilty and enter a finding of guilty against Defendant. (Dkt. #

18).

       On September 25, 2007, the government filed an Indictment against Defendant.

(Dkt. # 10). On August 19, 2008, this Court issued an order assigning this case to

Magistrate Judge Limbert for the purpose of arraignment and receiving Defendant’s

guilty plea. (Dkt. # 64).

       On August 18, 2008, a hearing was held in which Defendant entered a plea of

guilty to Counts 1 and 4 of the indictment: conspiracy to possess with intent to

distribute, in violation of 21 U.S.C. §§ 841(a)(1)(b)(1)(A), (b)(1)(D) and 846; and

possession with intent to distribute in violation of 21 U.S.C.§§ 841(a)(1), (b)(1)(D) and
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18 U.S.C. § 2. Magistrate Judge Limbert received Defendant’s guilty plea and issued

a Report and Recommendation (“R&R”) recommending that this Court accept the plea

and enter a finding of guilty. (Dkt. # 63).

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. The

Defendant was found to be competent to enter a plea. The Defendant understood his

constitutional rights. He is aware of the consequences of entering a plea. There is an

adequate factual basis for the plea. The Court finds that the plea was entered

knowingly, intelligently, and voluntarily. The Defendant’s plea of guilty is approved.

       Therefore, the Defendant is adjudged guilty of Counts 1 and 4 in violation of

21 U.S.C. §§ 841(a)(1)(b)(1)(A), (b)(1)(D) and 846; and 21 U.S.C.§§ 841(a)(1),

(b)(1)(D) and 18 U.S.C. § 2. The sentencing will be held on September 2, 2008, at

10:00 a.m.

       IT IS SO ORDERED.

                                   /s/ Peter C. Economus - August 26, 2008
                                   PETER C. ECONOMUS
                                   UNITED STATES DISTRICT JUDGE
